Case 0:20-cv-60779-DPG Document 10 Entered on FLSD Docket 06/09/2020 Page 1 of 2




 To The Honorable USDC Judge Gayles                                           lune 8,2020

  United States DistrictCourt

 Southern DistrictofFlorida                FILED By M      .
                                                                       o.c.
  Re:Case Num ber 20 - cv - 60779:               JUN 28 2220
                                                ANGELA
                                               CL ERK U SE. NOBLE
  PlaintiffStuartFriedm an:                    s.o. oFtkk. DIST. CT.
                                                            -w.RB.
  > arJudge Gayles:
        Please be respectfully advised that, as the oId saying goes, 'm m e Fly's
  W hen W e're Having Fun''.lwould Iike to respee ully say,that Time Also FY s
  w hen we ashum an beingsare notfeeling well.M w e getoldertim e seem sto go
  faster.In any event Iam hopefulthat upon your Honor's receiptofthis request
  fora short extension oftime to amend my com plaint,that your Honoris doing
  good. 1have been burdened with unexpeded illnesses within the last several
  weeks and as a resultofsucb,Ibaven'tbeen abY to donate a sum cient am ount
  oftim e in orderto have finalized m y am ended and revised com plaint.

        As a result ofthe above,Iam respectfully seeking an additional21 days
  from today,lune 8,2020 in orderto have m y docum entspedected and subm itted
  to tbis Coul .ln the event that your Honor w ould like to see som e of m y m ost
  recentdocum ented m edicalrecords,lwould be m ore than delighted to provide
  such.How ever,that isn't som ething that lw ould im agine you'llbe wanting to
  review .Butthen again,thatm ake two ofus.
        W ith the above,Iam respece lly pleading forthis Courtto m ake this m y
  lastrequestto perfed my am ended com plaint.Ifforw hateverreason m ay com e
  to sudace.and forw hateverit maybe that lwasn't able to have my docum ents
  pedected and subm itted within the next 20 days,then 1guess 1*11have to start
  from scratch,w hich issom ethingthatIwilltry m y hardestto avoid.

         Therefore,w ith the above this request w ill not cause m y opposition any
   préjudice,.
             asthis isa new filing,and none ofthe defendant'swillbe subjeded to
   anyprejudicialissues.Contrarw ithasbeen methathasbeen prejudiced,andthat
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  is w hy w e, as Am erica Citizens have Courts, and Unbiased, Fair, and Honest
  Judges Iike your Honor in order to cure the devastating harm in w hich the
  defendant'shave unjustifiably caused to m yfam ily and 1.
               Therefore w ith the above,1ask that your Honor allow m e untilthe
  June 29tit,2020 to have m y am ended com plaintsubm itted, as to allow m e,as the
  aggrieved party to be granted the Justice that the U .S-C-A.W ere enacted for by
  ourforefathers.GO D Bless Your Honor,G 0D Bless Am erio ,GO D BI>> lustlte,
  G0D Bless M y Fam ily and M yself,ketUs AIISay ....''AM EN''.


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                               $ t@ pt/EDRes- lk itt -
                                  /'/.$)
                            3 :4 %            StuanFriedman
                                              7711 EdgewaterDrive

                                              Lake Clarke Shores,FL 33* 6

                                              1(917)602- 2724
                                  E/M ail : andvandcozo@ v#hoo.com
         Dated This8Y'Day oflune 2020 from Palm Beath County Florida 334%



 Hand delivered To The Clerk ofCoul Office TodayJune 8,2020 Forplacem entto
 the DocketReportofthiscase herein atbar.ThankYou Sincerely Judge GaylesFor
 m y requestforyourConsideration foran additional20 day extension.How ever,I
 am confident that m y am ended pedected resubm ission shall be com pleted,
 finalized,and subsequently subme ed priorto lune 29,2020.ThankYou Again.
